Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 1 of 35 PageID #: 2789




                        Exhibit 2
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 2 of 35 PageID #: 2790
                                                                                       1901 L Street, N.W.
                                                                                    Washington, D.C. 20036
                                                                                          +1 202-282-5000
                                                                                          +1 202-282-5100




                                                                                ABBE DAVID LOWELL
                                                                                                   Partner
                                                                                             202-282-5000
                                            May 21, 2024


VIA E-MAIL

Leo J. Wise, Esq.
Derek E. Hines, Esq.
Special Assistant United States Attorneys
Office of the Special Counsel
1313 North Market Street
Wilmington, DE 19801

       Re:      United States v. Robert Hunter Biden, No. 23-cr-00061-MN (D. Del.)

Dear Counsel:

        We write to follow up on our May 17, 2024, expert disclosure notice. We are making this
additional disclosure out of an abundance of caution, as we only just interviewed and began steps
to retain Dr. Aoun yesterday, May 20, 2024, in light of a new scheduling conflict with Dr. Joshua
D. Lee. As stated in our May 17, 2024, letter, this disclosure is not intended to, and expressly does
not, concede the relevance or admissibility of the government’s proffered expert testimony.

       1. Dr. Elie G. Aoun

        Dr. Aoun is expected to testify concerning the following: (a) the scope of addiction,
including drug, alcohol, and other addiction; (b) a person with addiction’s understanding of and
state of denial about their own addiction; (c) how in his training and experience he has come to
know how an alcohol or substance user who has not yet come to terms with their addiction would
describe or think of themselves; (d) how materials provided in discovery indicate that Mr. Biden
was acting consistent with that behavior; (e) the different types of drug and alcohol use disorders
and variable clinical traits, including high-functioning professionals with active use disorders; (f)
the effects and impacts of rehabilitation, therapy, and other types of treatment programs on affected
individuals and their efforts in recovery; and (g) the effects and impacts of significant personal and
family traumas on persons with drug and alcohol use disorders.

        More specifically, Defense counsel anticipates that Dr. Aoun will provide, among other
things, opinions and related testimony in response to testimony presented at trial by the
government’s witnesses, including DEA Special Agent Joshua Romig, along the following lines:

       1. A description for the jury about the scope of addictive disorders and that the term
          “addiction” itself lacks a uniform and consistent objective definition.
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 3 of 35 PageID #: 2791


                                                                                    May 21, 2024
                                                                                          Page 2

       2. A description for the jury that persons with drug and alcohol use disorders can be high-
          functioning individuals, even during times of heavy drug and alcohol use, and how that
          contributes to their view of themself as being addicted.

       3. An analysis of certain statements made by Mr. Biden in text message conversations
          with loved ones, family members, and close friends, including messages with Hallie
          Biden about sobriety or addiction as to his following Dr. Aoun’s view of how persons
          with addiction view themselves.

       4. An analysis of certain retrospective statements made by Mr. Biden in his memoir,
          Beautiful Things, as to him acting in accordance with Dr. Aoun’s view of how persons
          with addiction view themselves.

       5. An analysis of residential, drug therapy, and other alcohol and substance use treatment
          programs that Mr. Biden enrolled in or attended between 2010 and 2019 as to his
          following Dr. Aoun’s view of how persons with addiction view themselves.

       6. A description for the jury of the difference between drug, alcohol, and other substance
          use disorders.

       Since 2020, Elie G. Aoun, MD, MRO, has served as an assistant professor of clinical
psychiatry at Columbia University College of Physicians and Surgeons, Division of Law, Ethics
and Psychiatry. He was appointed as Chief of Psychiatry – Psychiatrist III at Secure Treatment
and Rehabilitation Center’s (STARC) program, in addition to maintaining his own private practice.
Dr. Aoun trained in general psychiatry at Brown University, in addiction psychiatry at the
University of California at San Francisco and in forensic psychiatry at the combined Columbia
University and Cornell University program. He has additional expertise in neuro-psycho-
endocrinology and psychotherapy.

       In his private practice, Dr. Aoun provides diagnostic evaluations including second
opinions, treatment for psychiatric disorders using psychotherapy (talk therapy), medication
management (psychopharmacology), and forensic evaluations. Dr. Aoun has also received
advanced training in psychotherapy, psychopharmacology and forensic evaluations.

         Dr. Aoun’s qualifications as an expert as to the matters addressed herein are set forth
further in his CV attached to this Notice as Exhibit A. Dr. Aoun’s testimony is expected to be
based on his career as an experienced clinician, educator, and researcher in the field of addiction
medicine, and treatment of patients for addiction and other drug, opioid, and alcohol use
disorders. This includes through standard academic research methods such as: (a) study of
the relevant peer-reviewed academic literature; (b) clinical research trials; (c) data research;
and (d) medical education training.
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 4 of 35 PageID #: 2792


                                                                   May 21, 2024
                                                                         Page 3


                                    Sincerely,




                                    Abbe David Lowell
cc:   Christopher D. Man, Esq.
      Bartholomew Dalton, Esq.
      David Kolansky, Esq.
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 5 of 35 PageID #: 2793




                          Exhibit A
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 6 of 35 PageID #: 2794
                                                                            Elie G. Aoun, M.D.




                                CURRICULUM VITAE
                                 ELIE G. AOUN, M.D.


DATE OF PREPARATION:              March 16, 2024

PERSONAL DATA

Name:                             Elie G. Aoun, M.D.

Contact Information:              90 Broad St, Suite 310
                                  New York City, NY, 10004
                                  www.ElieGAounMD.com
                                  Elie@ElieGAounMD.com
                                  Phone: (347) 766 – 1941
                                  Fax: (347) 767 – 2113



Current Professional Positions: General, Addictions and Forensic Psychiatrist
                                 Elie G. Aoun Psychiatry PLLC


                                 Chief of Psychiatry - Psychiatrist III
                                 Secure Treatment and Rehabilitation Center (STARC)
                                 Bridgeview Campus and Oakview Campus


                                 Assistant Professor of Psychiatry
                                 Columbia University College of Physicians and Surgeons
                                 Division of Law, Ethics and Psychiatry


                                 ECP Trustee-At-Large
                                 American Psychiatric Association Board of Trustees




                                                                                            1
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 7 of 35 PageID #: 2795

Table of Contents:                                                              Page
Academic Appointments                                                           3
Hospital Appointments                                                           3
Education                                                                       4
Academic Training                                                               4
Licensure and Board Certification                                               4
Honors and Awards                                                               5
Academic Service                                                                6
   American Psychiatric Association                                             6
   American Academy of Addiction Psychiatry                                     7
   American Academy of Psychiatry and the Law                                   7
   American College of Psychiatrists                                            8
   American Medical Association                                                 8
   Columbia/Cornell, Albert Einstein, New York University, Rutgers University
Forensic Psychiatry Fellowship Programs Consortium:                             8
   Accreditation Council for Graduate Medical Education (ACGME)                 8
   Group for the Advancement of Psychiatry                                      8
   Northern California Psychiatric Society                                      8
   Rhode Island Psychiatric Society                                             8
   Center Alcohol and Addiction Studies, Brown University                       8
   Brown University Psychiatry Residency                                        8
   Butler Hospital                                                              8
Professional Organizations and Societies                                        9
   National Organizations and Societies                                         9
   Regional Organizations and Societies                                         9
   International Organizations and Societies                                    10
   Peer Reviewer Journals                                                       10
Grant Support                                                                   10
   Past Grant Support                                                           10
Educational contributions                                                       11
Publications                                                                    12
      Books                                                                     12
      Original Peer Reviewed Research Publications                              13
      Reviews, Chapters and Editorials                                          16
      Abstracts and Poster Presentations                                        18
      Press, Interviews and Other Media                                         20
Presentations                                                                   25
       National presentations                                                   25
       Regional Presentations                                                   28
                                                                                       2
   Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 8 of 35 PageID #: 2796

                                                                                  Elie G. Aoun, M.D.

ACADEMIC APPOINTMENTS

July 2020 – Present   Columbia University College of Physicians and Surgeons, Division of Law, Ethics
                      and Psychiatry - Assistant Professor of Clinical Psychiatry

Sept 2019 – Mar 2020 New York University, Department of Psychiatry - Assistant Professor of Clinical
                     Psychiatry

Jan 2017 - Sept 2019 New York University - Clinical Instructor

Jul 2018 - Jun 2019   Columbia University - Post-Doctoral Research Fellow

HOSPITAL APPOINTMENTS

Feb 2024 - Present    Secure Treatment and Rehabilitation Center (STARC) – Chief of Psychiatry –
                      Psychiatrist III

Apr 2021- Feb 2024 Secure Treatment and Rehabilitation Center (STARC) - Attending Psychiatrist II

Oct 2019 – Feb 2024 Sex Offender Management and Treatment Liaison Strict and Intensive Supervision
                    (SIST)

Oct 2019 – Apr 2021 Central New York Psychiatric Center (NY) - Attending Psychiatrist

Jan 2017 – Oct 2020 Bellevue Hospital (NY) - Attending Psychiatrist

Jul 2017 - Jun 2018   Mid-Hudson Forensic Psychiatric Center (NY) - House Staff Physician

Jul 2017 - Jun 2018   New York Presbyterian Hospital and Columbia University Medical Center Medical
                      (NY) - House Staff Physician

Jul 2016 - Jun 2017   San Francisco Veterans Administration Medical Center (CA) - House Staff
                      Physician

Jul 2016 - Jun 2017   Kaiser Permanente Medical Center in San Francisco (CA) - House Staff Physician

Jul 2015 - Jun 2016   Eleanor Slater Hospital (RI) - Moonlighting Physician

Jul 2014 - Jun 2016   Eleanor Slater Hospital (RI) - House Staff Physician

Jul 2014 - Jun 2016   Rhode Island Hospital (RI) - Moonlighting Physician

Jul 2012 - Jun 2016   Rhode Island Hospital (RI) - House Staff Physician

Jul 2014 - Jun 2016   Women and Infants Hospital (RI) - Moonlighting Physician


                                                       3
   Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 9 of 35 PageID #: 2797

                                                                                     Elie G. Aoun, M.D.


Jul 2012 - Jun 2016   Women and Infants Hospital (RI) - House Staff Physician

Jul 2014 - Jun 2016   The Miriam Hospital (RI) - Moonlighting Physician

Jul 2012 - Jun 2016   The Miriam Hospital (RI) - House Staff Physician

Jul 2012 - Jun 2016   Butler Hospital (RI) - House Staff Physician

Jul 2012 - Jun 2016   Bradley Hospital (RI) - House Staff Physician

EDUCATION

Jul 2006 - Jun 2010   Medical Doctor - American University of Beirut, Beirut, Lebanon

Jul 2003 - Jun 2006   Bachelor of Sciences (Biology) - American University of Beirut, Beirut, Lebanon

ACADEMIC TRAINING

Jul 2018 - Jun 2019   Fellowship in Forensic Psychiatry Research, Columbia University, NY, NY

Jul 2017 - Jun 2018   Fellowship in Forensic Psychiatry, Columbia University and Cornell University
                      combined program, NY, NY

Jul 2016 - Jun 2017   Fellowship in Addiction Psychiatry, University of California in San Francisco, San
                      Francisco, CA

Jul 2012 - Jun 2016   Residency in Adult Psychiatry, Department of Psychiatry and Human Behavior,
                      The Warren Alpert Medical School of Brown University, Providence, RI
                      2013-2016: Research Track,
                      2015-2016: Leadership in Education and Administration Program (LEAP) Track

Jul 2010 - Jun 2012   Postgraduate research assistant, University of Pittsburgh Medical Center - Western
                      Psychiatric Institute and Clinic, Pittsburgh, PA

LICENSURE AND BOARD CERTIFICATION

Sept 2019 - Present   American Board of Psychiatry and Neurology, Specialty: Forensic Psychiatry,
                      Certificate number: 2397

Jan 2019 - Present    American Board of Preventive Medicine, Specialty: Addiction Medicine,
                      Certificate number: 61-4147

Oct 2018 - Present    American Board of Psychiatry and Neurology, Specialty: Addiction Psychiatry,
                      Certificate number: 2534

                                                       4
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 10 of 35 PageID #: 2798

                                                                                    Elie G. Aoun, M.D.

Oct 2017 - Present    American Board of Psychiatry and Neurology, Specialty: Psychiatry, Certificate
                      number: 72324

Apr 2017 - Apr 2022 Medical Review Officer, Certification number: 17-12184
Jan 2017 - May 2024 New York State Unrestricted Medical License, License number: 287660

Jun 2016 - Jun 2022 California Unrestricted Medical License, License number: A-143025
Apr 2015 - Jun 2016 Rhode Island Unrestricted Medical License, License number: MD-14970

May 2012 - Jun 2015 Rhode Island Limited Medical License, License number: LP-02517

Feb 2011 - Present    Educational Committee for Foreign Medical Students certification, License
                      number: 0-808-672-0

HONORS AND AWARDS

Dec 2023 – Nov 2025     Appointed Scientific Program Chair and Member of the Board of Directors,
                        American Academy of Addiction Psychiatry Board of Directors

Oct 2023 – Oct 2026     Appointed Councilor for Underrepresented and Minority Affairs, Executive
                        Council for the American Academy of Psychiatry and the Law

Feb 2023                Inducted Fellow of the American College of Psychiatrists

May 2021 – May 2024 ECP Trustee-At-Large of American Psychiatric Association Board of Trustees,
                    APA

Jan 2021                Inducted Fellow of the American Psychiatric Association (FAPA), APA

Mar 2019                APA Federal Advocacy Conference Scholarship, APA

Dec 2016 - Nov 2018     AAAP trainee representative to the Board of Directors, AAAP

Jun 2016 - May 2018     APA - SAMSHA Substance Abuse and Minority Fellowship awardee, APA

Mar 2016                Stepping Up /APEX (American Psychiatric Excellence) National Summit Travel
                        Award, APA

Mar 2016                AADPRT International Medical Graduate award, AADPRT

Jun 2015 - May 2016     ACORF mentor, APA Assembly Committee On Residents and Fellows, APA

Jun 2014 - May 2016     Group for the Advancement of Psychiatry Fellowship awardee, GAP



                                                      5
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 11 of 35 PageID #: 2799

                                                                                 Elie G. Aoun, M.D.


Dec 2014               AAAP Regional Travel Award, AAAP

Jun 2014 - May 2016    American Psychiatric Leadership Fellowship Awardee, APA

Jul 2014 - Jun 2015    R25 Grant Awardee for the Brown University Psychiatry Training - Research
                       Track, National Institute of Mental Health (R25MH101076), Brown University

Jun 2013 - May 2015    Area I RFM representative to the assembly, APA

May 2010               Best Oral Presentation and Best Original Work, Lebanese National Research
                       Day, Alpha Omega Alpha - Lebanon Chapter

ACADEMIC SERVICE

   American Psychiatric Association:

May 2021 – May 2024 ECP Trustee-At-Large of the American Psychiatric Association Board of Trustees

May 2021 – May 2022 Systemic Racism Accountability Task Force

May 2021 – May 2022 Presidential Task Force on Social Determinants of Mental Health

Jun 2020 – May 2023 Scientific and Program Committee

Jun 2020 – May 2021 Scientific Poster Committee, (Vice Chair)

Jun 2020 – May 2021 Scientific Course Committee

Jun 2020 – May 2021 Scientific Subcommittee for Early Career Psychiatrists and Resident and Fellow
                    Members

Jun 2018 – May 2020 Council on Addiction Psychiatry, (Vice Chair)

May 2017 - May 2019 Council on Psychiatry and the Law workgroup on Civil Commitment for
                    Substance Use Disorders, (Co-Chair)

Jun 2016 - May 2018 Council on Addiction Psychiatry, Early Career Psychiatrist council member

Jun 2014 - May 2016 Council on Addiction Psychiatry, Resident and Fellow Member council member

Jun 2015 - May 2016 APA Resident and Fellow Members Caucus, Communications Officer

Jun 2015 - May 2016 Assembly Mentorship workgroup



                                                    6
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 12 of 35 PageID #: 2800

                                                                                  Elie G. Aoun, M.D.

Jun 2015 - May 2016 Assembly Communications workgroup

Jun 2013 - May 2015 APA Assembly, Resident and Fellow Members Representative for Area I

Jun 2013 - May 2015 Assembly Committee of Resident and Fellow Members, Area I Representative

Jun 2014 - May 2015 Awards Committee

Jun 2014 - May 2015 Reference Committee Two - Advocating for the Profession

Jun 2013 - May 2014 Nominating Committee

Sept 2013             Advocacy Day, Rhode Island Representative

   American Academy of Addiction Psychiatry:

Dec 2023 – Nov 2025 Member of the Board of Directors

Jan 2014 - Present    Scientific and Program Committee (Chair, 2023-2025; Co-Chair, 2018-2023;
                      Associate Chair, 2016-2018)

Jan 2015 - Present    Addictions and the Law Committee (Co-Chair)

Jan 2016 - Dec 2018   AAAP Board of Directors, Trainee Representative to the Board of Directors

Jan 2016 - Present    Workshop Selection Committee (Co-Chair, 2017-Present)

Jan 2014 - Present    Public Policy Committee

Jan 2014 - Dec 2019   Membership Committee

   American Academy of Psychiatry and the Law:


Oct 2023 – Oct 2026 AAPL Executive Council, Councilor for Underrepresented and Minority Affairs

Oct 2020 - Present    Sex Offender Committee

Oct 2018 - Present    Program Committee

Oct 2017 – Oct 2023 Government Affairs Committee

Oct 2017 - Present    Judicial Action Committee

Oct 2016 - Present    Addiction Psychiatry Committee


                                                     7
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 13 of 35 PageID #: 2801

                                                                                 Elie G. Aoun, M.D.


Oct 2017 – Jan 2020    Diversity Committee

Oct 2016 - Oct 2019    Law Enforcement Liaison Committee

   American College of Psychiatrists:

Mar 2024 - Feb 2027 Committee on Ethics

   American Medical Association:

Mar 2018 - Jun 2020 Pain Care Task Force

   Accreditation Council for Graduate Medical Education (ACGME):

Jan 2018 – Jul 2020 Psychiatry Residency Milestone 2.0 Workgroup member


   Columbia/Cornell, Albert Einstein, New York University, Rutgers University Forensic
Psychiatry Fellowship Programs Consortium:

April 2023 - Present   Social Justice Curriculum Module (Co-Chair)

   Group for the Advancement of Psychiatry:

Jun 2014 - May 2016 Committee on Addictions

   Northern California Psychiatric Society:

Jul 2016 - Jun 2017    Committee on Addictions

   Rhode Island Psychiatric Society:

Jun 2013 - May 2015 Rhode Island Psychiatric Society Council, Resident and Fellow Members
                    Representative

   Center Alcohol and Addiction Studies, Brown University:

Jul 2014 - Jun 2016    Research Study Physician and Mentor

   Brown University Psychiatry Residency:

Jul 2012 - Jun 2016    Medical Students Education Committee (Chair, 2015-2016)



                                                    8
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 14 of 35 PageID #: 2802

                                                                                  Elie G. Aoun, M.D.

Jul 2012 - Jun 2016   Residency Curriculum Committee

Jul 2015 - Jun 2016   Neuropsychiatry Clerkship Steering Committee

Jul 2012 - Jun 2016   Policy and Graduate Medical Education Committee

Jul 2012 - Jun 2014   Residency Selection Committee

Jul 2012 - Jun 2016   Residency Social Committee

   Butler Hospital:

Jul 2013 - Jun 2014   Pharmacy and Therapeutics Committee Resident Representative

Jul 2013 - Jun 2015   Institutional Review Board

PROFESSIONAL ORGANIZATIONS AND SOCIETIES
  National Organizations and Societies

Nov 2021 - Present    American College of Psychiatrists (Inducted Fellow of the ACP February 2023)

Nov 2012 - Present    American Psychiatric Association (Inducted Fellow of the APA January 2021)

Mar 2013 - Present    American Academy of Addiction Psychiatry

Mar 2015 - Present    American Academy of Psychiatry and the Law

May 2020 - Present    Association for the Treatment of Sexual Abusers

Dec 2012 - Present    American Gay and Lesbian Psychiatrists

Nov 2017 - Present    American Medical Association

Feb 2015 - Jan 2016   American Society of Addiction Medicine

Jun 2014 - May 2016 Group for the Advancement of Psychiatry

   Regional Organizations and Societies

Jul 2017 - Present    New York State Psychiatric Society




                                                      9
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 15 of 35 PageID #: 2803

                                                                                   Elie G. Aoun, M.D.


Jul 2017 - Present     New York County Psychiatric Society

Jun 2016 - Jul 2017    Northern California Psychiatric Society

Nov 2012 - Jun 2016 Rhode Island Psychiatric Society

   International Organizations and Societies

Jul 2010 - Jun 2017    American University of Beirut, Alumni Association

Jul 2007 - Jun 2016    Lebanese Medical Society

   Peer Reviewer

June 2023              Guidelines For Managing Substance Withdrawal in Jails. U.S. Department of
                       Justice, Office of Justice Programs, Bureau of Justice Assistance, Ad Hoc
                       reviewer. Accessible at:
                       https://www.cossapresources.org/Content/Documents/JailResources/Guidelines_f
                       or_Managing_Substance_Withdrawal_in_Jails_6-6-23_508.pdf

May 2022               Journal of Addiction Medicine, Ad Hoc reviewer

February 2021          American Journal of Psychiatry, Ad Hoc reviewer

Nov 2020               Journal of Gay and Lesbian Mental Health, Ad Hoc reviewer

Jan 2016 - Dec 2018    American Journal on Addictions, Ad Hoc reviewer

Mar 2014 - Jan 2018    Alcohol and Alcoholism, Ad Hoc reviewer

Nov 2017               PeerJ, Ad Hoc reviewer

May 2017               Addictive Behaviors Reports, Ad Hoc reviewer

GRANT SUPPORT
  Past Grant Support


2016 - 2019     Mifepristone As A Pharmacological Intervention For Stress-Induced Alcohol Drinking
                NIH/NIAAA (1K01AA023867-01); Five years of funding awarded
                Role: Research Study Physician [FDA IND 121984 Holder: Haas-Koffler] (PI: Haass-
                Koffler)
                Total direct support: $957,895



                                                      10
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 16 of 35 PageID #: 2804

                                                                                      Elie G. Aoun, M.D.

2016 - 2018    The Intersection of Mental Illness, Minority Status, and Policing
               SAMHSA (SM060562-05); Two years of funding awarded
               Role: APA - SAMHSA fellow
               Total direct support: $25,560

2014 - 2016    Pilot Study On The Safety And Efficacy of Mifepristone For The Prevention Of Relapses
               Of Alcohol Drinking
               Research Excellence Award CAAS, Brown University; Two years of funding awarded
               Role: Research Study Physician [FDA IND 121984 Holder: Haas-Koffler] (PI: Haass-
               Koffler)
               Total direct support: $15,000

2014 - 2015    Mental Health Research Grant
               NIH/ MH (R25MH101076); Two years of funding awarded
               Role: Psychiatry Resident (PI: Eisen and Phillips)

EDUCATIONAL CONTRIBUTIONS

2023          The Psychiatric Expert in High Conflict Divorce Matters – Cardozo University Law School
              (lecturing, 2 hours)

2021 – 2022 Violence and Criminal Behavior in Persons with SUD – New York University addiction
            psychiatry fellowship program (lecturing, 1.5 hours)

2021          Violence and Criminal Behavior in Persons with SUD - Columbia University addiction
              psychiatry fellowship program (lecturing, 1.5 hours)

2020          Violence and Criminal Behavior in Persons with SUD - Yale University forensic psychiatry
              fellowship program (lecturing, 1.5 hours)

2018 –        Addiction, Violence and Criminal Behavior - Columbia University and Cornell University
Present       combined forensic psychiatry fellowship program (lecturing, 2 hours every year)

2018 -        Reading Seminar: Seminal Topics in Forensic Psychiatry. Seminar series - Columbia
Present       University and Cornell University combined forensic psychiatry fellowship program
              (lecturing, 1 hour twice every month)

2018          Quality Improvement and Root Cause Analysis in Psychiatric Practice. Seminar - Joint
              Orientation Session for all Columbia University Department of psychiatry residents and
              fellows (lecturing, 2 hours)

2018          Introduction to Forensic Psychiatry. Seminar presentation - Harlem Hospital psychiatry
              residency program (lecturing, 2 hours)



                                                       11
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 17 of 35 PageID #: 2805

                                                                                       Elie G. Aoun, M.D.


2017          The Role of Mineralocorticoid and glucocorticoid receptors in Alcohol Use Disorder.
              Seminar presentation - University of California in San Francisco psychiatry residency
              program (lecturing, 2 hours)

2017          The Gut in the Brain: The Role of Appetite Regulating Hormones in Alcohol Use Disorder.
              Seminar presentation - University of California in San Francisco psychiatry residency
              program (lecturing, 2 hours)

2016 - 2017 Tobacco Use and Smoking Cessation. Seminar presentation for second year medical
            students - University of California in San Francisco School of Medicine (small group
            facilitation, 2 hours every other month)

2016          Introduction to SBIRT, or How Non-Addiction Specialists Can Think of Addictions.
              Seminar presentation - University of California in San Francisco OB-GYN residency
              program (lecturing, 2 hours)

2015-2016 Addiction Psychiatry. Seminar presentation for second year medical students - Warren
          Alpert Medical School of Brown University (lecturing, 2 hours every month)

2015          The Use of Games in Teaching Psychopharmacology. Seminar presentation - Brown
              University psychiatry residency program (lecturing, 2 hours)

2014-2015 Emergency Psychiatry. Seminar presentation for second year medical students - Warren
          Alpert Medical School of Brown University (lecturing, 2 hours every other month)

2013-2015 Career Development-How to Get Involved? Seminar presentation - Brown University
          psychiatry residency program (lecturing, 2 hours every year)

2013-2015 Introduction to Psychopharmacology. Seminar presentation - Brown University psychiatry
          residency program (lecturing, 2 hours every year)

2013-2015 Psychiatric Emergencies Case Conference. Seminar presentation for third and fourth year
          medical students- Warren Alpert Medical School of Brown University (lecturing, 2 hours
          every other month)

2013-2014 Introduction to Depressive Disorders. Seminar presentation for second year medical students
          - Warren Alpert Medical School of Brown University (lecturing, 2 hours every other month)

PUBLICATIONS
    Books

       2024
       1. Aoun EG, Pinals DA, Westreich L (2023). Substance Use Disorders in the Legal System. American
          Psychiatric Association Publishing (in press)



                                                       12
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 18 of 35 PageID #: 2806

                                                                                       Elie G. Aoun, M.D.

   2023
   2. Colon-Rivera H, Aoun EG, Vaezazizi L (2023). Psiquiatría de las adicciones (Spanish). Elsevier
      Espana Press


   2022
   3. Colon-Rivera H, Aoun EG, Vaezazizi L (2022). Addiction Psychiatric Medicine. Elsevier Press

   4. American Psychiatric Association Board of Trustees (2022). Diagnostic and Statistical Manual 5th
      Edition, Text Revision, Steering Committee Chair: Paul S. Appelbaum. American Psychiatric
      Association Publishing

   2021
   5. Aoun EG, Barbera ME, Cates-Wessel K, Fuehrlein B, Gingerich JD, Lyngar JD, Nadeau TL, Pinals
      DA, Reiber PL, Sevarino KA, Steel CR, Westreich L. (2021). Cultivating Law and Medicine
      Partnerships to Support Justice-Involved Individuals with Substance Use Disorders. American
      Academy of Addiction Psychiatry, Substance Abuse and Mental Health Services Administration,
      National Center for State Courts, State Justice Institute


   Original Peer Reviewed Research Publications

    2023
   1. Haass-Koffler C, Mangill M, Cannella N, Brown JC, Aoun EG, Cioe PA, Sinha R, Swift R,
      Ciccocioppo R, Leggio L. (2023) Mifepristone as a pharmacological intervention for stress-
      induced alcohol craving: A human laboratory study. Addiction Biology. 28(7); e13288

    2021
   2. Kinzie JM, DeJong SM, Edgar L, Houston LJ, Janssen F, Macaluso M, Aoun EG, Bowen L,
      Keepers G, Bentman AL, Cowley DS. (2021) Psychiatry Milestones 2.0: Using the
      Supplemental Guide to Create a Shared Model of the Development of Professional Identity and
      Expertise. Acad Psychiatry. doi: 10.1007/s40596-021-01455-6. Epub ahead of print.

    2020
   3. *Aoun EG, Porta G, Melhem NM, Brent DA. (2020) Prospective Evaluation of the DSM-5
      Persistent Complex Bereavement Disorder Criteria in Adults: Dimensional and Diagnostic
      Approaches. Psychological Medicine. (16); 1-10.

   4. AMA Pain Care Task Force. (2020) Addressing Obstacles to Evidence-Informed Pain
      Care. AMA Journal of Ethics. 22(8); E709-717.

   5. Macaluso M, Kinzie M, Cowley D, Houston LJ, DeJong S, Janssen F, Bentman A, Edgar L,
      Campbell B, Bowen L, Aronowitz J, Aoun EG, Santiago P, Keepers G. (2020) The Psychiatry
      Milestones 2.0: How did we get from 1.0 to 2.0 and what can users expect? Academic
      Psychiatry. 8; 1-6.



                                                      13
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 19 of 35 PageID #: 2807

                                                                                 Elie G. Aoun, M.D.


   2019
   6. *Aoun EG, Appelbaum PS. (2019) Ten Years after the ADA Amendment Act (2008): The
      Relationship Between ADA Employment Discrimination and Substance Use Disorders.
      Psychiatric Services. 70 (7); 596-603.

   2018
   7. *Aoun EG, Bazzi L. (2018) Addiction and the Law. American Journal on Addictions. 27; 56-
      57.

   8. Virani S, Aoun EG, Genova N, Brainch N, Albuquerque Gomes C, Hurley B, Bazzi R. (2018)
      Decoding New York State’s Prescription Monitoring Program. Psychiatric Services. 69 (9);
      956-958.

   2017
   9. *Aoun EG, Jimenez VA, Vendruscolo LF, Walter NAR, Barbier E, Ferrulli A, Haass-Koffler
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                                                       23
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 29 of 35 PageID #: 2817

                                                                                    Elie G. Aoun, M.D.


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     62. Alcohol Abuse: Craving Scores, Early-Age Drinking Predict Relapse Risk. Medscape Medical
         News. https://www.medscape.com/viewarticle/890120

     2015
     63. Appetite-Regulating Hormones May Block Alcohol Cravings. Medscape Medical News.
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PRESENTATIONS
     National presentations


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  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 30 of 35 PageID #: 2818

                                                                                 Elie G. Aoun, M.D.

2023      Challenges for International Medical Graduates (IMGs) in Psychiatry in 2023: Top Issues
          and Solutions. American Psychiatric Association (Workshop Speaker).

2022      LGBTQIA Issues in the Criminal Justice & Corrections Systems. American Academy of
          Psychiatry and the Law (Workshop Chair).

2022      Supporting ECPs and RFMs in Their Careers and Beyond. American Psychiatric Association
          (Workshop Speaker).

2022      Supporting IMGs Throughout Their Careers. American Psychiatric Association (Workshop
          Speaker).

2021      Town Hall on Increasing LGBTQ+ Equity in AAPL. American Academy of Psychiatry and
          the Law (Session Moderator).

2021      Challenges in Prescribing Controlled Substances During the COVID-19 Pandemic. Psych
          Congress – Elevate (Workshop Chair).

2021      The Role of Psychopharmacology in Arousal Management for Individuals Committed of
          Sexual Offenses. Association for the Treatment of Sex Abusers Annual Meeting (Workshop
          Chair).

2021      How Cultural Competence Can Reduce Bias and Improve Psychiatric Care for Marginalized
          Groups. Association for Gay and Lesbian Psychiatrist (Workshop moderator).

2021      Interdisciplinary Perspectives on Psychopharmacological Education. American Psychiatric
          Association Annual Meeting (Workshop Chair).

2021      Through the Looking Glass: Lessons Learned on the Campaign Trail and Exploring the
          Future of APA Elections. American Psychiatric Association Annual Meeting (Workshop
          speaker).

2021      Our Vision for the APA. American Gay and Lesbian Psychiatrists Association (Workshop
          speaker).

2021      Psychiatry Side Gigs: How and Why Psychiatrists Are Supplementing Their Income.
          American Psychiatric Association Annual Meeting (Workshop speaker).

2020      Sex, Drugs and Rock and Roll in LGBTQ+ Communities. American Gay and Lesbian
          Psychiatrists Association (Workshop Chair).

2020      Angels of History by Rabih Alameddine Book Discussion. American Gay and Lesbian
          Psychiatrists Association (Workshop Chair).




                                                   25
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 31 of 35 PageID #: 2819

                                                                                   Elie G. Aoun, M.D.


2020      Violence and Criminal Behavior in Persons with SUD. American Psychiatric Association
          Annual Meeting (Workshop Chair).

2020      The “Other” Kind of Breakdown: Identifying and Overcoming Barriers and Delivering
          Effective Psychiatric Care. American Psychiatric Association Annual Meeting (Workshop
          speaker).

2020      Psychiatry Side Gigs: How and Why Psychiatrists Are Supplementing Their Income.
          American Psychiatric Association Annual Meeting (Workshop speaker).

2020      The Impostor Syndrome: International Medical Graduates Navigating Immigration
          Challenges and Beyond. American Psychiatric Association Annual Meeting (Workshop
          speaker).

2020      True Intimacy: An Expert Discussion About Recovery and Healthy Sexuality. Chrysalis
          Way (Workshop speaker).

2019      Hormones, Highs & Treatment Horizons: Neuroendocrine Targets in Substance Use
          Disorders. American Academy of Addiction Psychiatry Annual Meeting (Workshop
          speaker).

2019      Treating Pain During the Opioid Epidemic: A Paradox Facing Addiction Psychiatrists.
          American Academy of Addiction Psychiatry Annual Meeting (Workshop speaker).

2019      Recognizing and Addressing Stigma in Addiction Psychiatric Practice. American Academy
          of Addiction Psychiatry Annual Meeting (Workshop speaker).

2019      Drug Crises: Impact on Professional Autonomy and Standards of Care. American Academy
          of Psychiatry and the Law Annual Meeting (Workshop speaker).

2019      50 Years Post-Powell: Addiction and Culpability. American Academy of Psychiatry and the
          Law Annual Meeting (Workshop speaker).

2019      Can Addicts Stop Using? A Review of the Roles of Morality and Neuroscience in Shaping
          the Free Will—Determinism Duality in Substance Use Disorders. Institute for Psychiatric
          Services Annual Meeting (Chair - Invited Presentation).

2019      Leveraging Intergenerational Differences and Strengths: Leadership Development,
          Education, and Patient Care. Institute for Psychiatric Services Annual Meeting (Invited
          Workshop speaker).

2019      The Impostor Syndrome: International Medical Graduates Navigating Immigration
          Challenges and Beyond. Institute for Psychiatric Services Annual Meeting (Workshop
          speaker).


                                                    26
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 32 of 35 PageID #: 2820

                                                                                     Elie G. Aoun, M.D.

2019      Psychiatrists and Law Enforcement Agencies: When Do We Really Have to Tell on our
          Patients? American Psychiatric Association Annual Meeting (Workshop speaker).

2019      Physician Health Programs (PHPs): Battling Burnout, Combating Stigma, and Empowering
          Physicians to Be Great Again. American Psychiatric Association Annual Meeting
          (Workshop speaker).

2019      Behavioral Addictions: The Latest Meme or a Real Thing? American Psychiatric
          Association Annual Meeting (Workshop speaker).

2019      The Impostor Syndrome: International Medical Graduates Navigating Immigration
          Challenges and Beyond. American Psychiatric Association Annual Meeting (Workshop
          speaker).

2019      Psychiatry Side Gigs: How and Why Psychiatrists Are Supplementing Their Income.
          American Psychiatric Association Annual Meeting (Workshop speaker).

2018      Addictions, Violence and Criminal Recidivism: Unweaving a Tangled Web. American
          Academy of Addiction Psychiatry Annual Meeting (Workshop Chair).

2018      Psychologically-Integrated Approaches to Pain Management- The Opioid Safety Project
          Webinar Series. AMA/Telligen QIN-QIO Collaboration (Session Chair).

2018      Recent Cases, and Why They Matter. American Academy of Psychiatry and the Law Annual
          Meeting (Workshop speaker).

2018      Psychiatrists at the Helm of the Opioid Epidemic. Presidential Forum. American Psychiatric
          Association Annual Meeting (Chair - Invited Presidential Symposium).

2018      Legal and Ethical Issues of Pregnancy Management in Schizophrenics: The Dilemma of
          Affording Autonomy Versus Beneficence. American Psychiatric Association Annual
          Meeting (Workshop speaker).

2017      MAT and Behavioral Strategies to Treat Adolescents with SUD. American Psychiatric
          Association Annual Meeting (Workshop Co-Chair).

2017      Substance Use Disorders and the Criminal Justice System. Institute for Psychiatric Services
          Annual Meeting (Chair - Invited Presentation).

2017      Forensic issues in addiction psychiatry: testing, treating, clearing, diverting and committing.
          American Academy of Addiction Psychiatry Annual Meeting (Workshop Chair).

2016      Psycho-Neuro-Endocrinology of Addictions: A Clinical Prospective. American Academy of
          Addiction Psychiatry Annual Meeting (Symposium Chair).

2016      Standing up to Violence in Police Encounters: The Players, the Victims, the Trauma and the
          Solutions. American Psychiatric Association Annual Meeting (Workshop Chair).
                                                     27
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 33 of 35 PageID #: 2821

                                                                                    Elie G. Aoun, M.D.


2016          The Practice of Addiction Medicine with Lesbian, Gay, Bisexual and Transgender Patients.
              American Society of Addiction Medicine Annual Meeting (Workshop speaker).

2016          The Clinical Evaluation and Management of Substance Use Disorders in Transgender
              Patient Populations. American Psychiatric Association Annual Meeting (Workshop Co-
              Chair).

       Regional Presentations

2023            Utilizing Various Tools in High Conflict Custody Cases, Including Substance Abuse,
                Mental Illness, Hostile Parents, and Strained Communications – New York State Bar
                Association – Family Law Section Summer Meeting (Invited Speaker).

2023            Addiction and Substance Abuse in Custody Cases: Assessing, Monitoring, and
                Determining Best Pathways for the Health and Safety of Children – New York State Bar
                Association – Family Law Section Summer Meeting (Invited Speaker).

2023            Drug and Alcohol in Divorces – New York City Bar; Family Court and Family Law
                Committee (Invited Speaker).

2020 - 2023     People Convicted of Sexual Offenses. Facts, Assessment, Treatment and Management –
                Center for Urban Community Services (Invited Speaker).

2022            Violence and Criminal Behavior in Persons with SUD – Medical College of Georgia
                Psychiatry Rounds (Invited Grand Rounds Speaker).

2022            Violence and Criminal Behavior in Persons with SUD – University of Texas Rio Grande
                Psychiatry Rounds (Invited Grand Rounds Speaker).

2020            Violence and Criminal Behavior in Persons with SUD - Yale University Forensic
                Psychiatry Rounds (Invited Speaker).

2020            Violence and Criminal Behavior in Persons with SUD – UCLA Kedren Community
                Mental Health Center Grand Rounds (Invited Speaker).

2020            Violence and Criminal Behavior in Persons with SUD – Rutgers University Psychiatric
                Grand Rounds (Invited Speaker).

2020            The Psychopharmacology and MAT: Medications, Diagnosis and Therapy – 2020 Oregon
                State Virtual Conference. National Association of Drug Court Professionals (Keynote
                Speaker).

2020            Violence and Criminal Behavior in Persons with SUD. Clinical Rounds – Special Edition.
                National Institute on Drug Abuse (Invited Grand Rounds Speaker).


                                                      28
  Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 34 of 35 PageID #: 2822

                                                                                  Elie G. Aoun, M.D.

2020        SAMHSA’s GAINS Center Community of Practice: Using the Sequential Intercept
            Model (SIM) to Guide Medication Assisted Treatment Implementation – Funding and
            Healthcare Reimbursement Issues Related to MAT Implementation in Jail-Based Settings.
            (Invited Discussant).

2020        MAT: Medications, Diagnosis and Therapy – 2020 Statewide Conference in Charleston,
            SC. National Association of Drug Court Professionals (Keynote Speaker).

2020        Substance Use and the Justice System – Sweet Institute. (Invited Speaker).

2019        Addiction, Violence and Criminal Behavior. Mount Sinai - Beth Israel Department of
            Psychiatry (Invited Grand Rounds Speaker).

2019        The Eight Guiding Principles for Behavioral Health and Criminal Justice - Site:
            Montgomery; Jefferson County. SAMHSA/GAINS Center and Policy Research
            Associates Collaboration (Session Moderator).

2019        Using Medication Assisted Treatment in Treatment Courts - Developing an MAT
            Protocol Training for Drug Court Judges - Lansing, Michigan. National Association of
            Drug Court Professionals (Keynote Speaker).

2019        Addiction, Violence and Criminal Behavior in Persons with SUD – Sweet Institute
            (Invited Speaker).

2018        National Association of Drug Court Professionals Training on Medication Assisted
            Treatment of Substance Use Disorders. Seminar presentation - Springfield, Missouri -
            National Association of Drug Court Professionals (Keynote Speaker).

2017        Hormonal Considerations in Alcohol Use Disorder: Novel Treatment Approaches for
            Alcohol Use Disorder. San Francisco Veterans Administration Medical Center -
            Addiction and Recovery Services Faculty Development Seminar Series (Seminar
            Speaker).

2017        The ASAM Treatment of Opioid Use Disorder Course (Including Buprenorphine Waiver
            Qualifying Requirements) University of California in San Francisco Medical School
            Faculty (Course Faculty).

2015        A Discussion on the Recreational and Medical Uses of Marijuana. Department of
            Psychiatry and Human Behavior at the Warren Alpert Medical School of Brown
            University (Sponsored by an American Academy of Addiction Psychiatry Regional
            Travel Grant) (Seminar Speaker).

2015        Opioid Use Disorder: Revisiting the Classical Neurobiological Model. McLean Hospital,
            Borden Cottage (Invited In-Service Rounds Speaker).

2013        Comorbid OCD and Mood Disorders. Integrated Clinical Case Conference. Department
            of Psychiatry and Human Behavior – Brown University (Seminar Speaker).
                                                   29
Case 1:23-cr-00061-MN Document 166-2 Filed 05/22/24 Page 35 of 35 PageID #: 2823

                                                                  Elie G. Aoun, M.D.




                                         30
